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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                         MIAMI DIVISION

                                     CASE NO.: 23-23631-Civ-Scola
  FOREO INC.,

           Plaintiff,

  v.

  THE INDIVIDUALS, CORPORATIONS,
  LIMITED LIABILITY COMPANIES,
  PARTNERSHIPS, AND UNINCORPORATED
  ASSOCIATIONS IDENTIFIED ON SCHEDULE
  A,

           Defendants.

                                                      /

       PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL OF CERTAIN DEFENDANT

           PLEASE TAKE NOTICE that, pursuant to Fed. R. Civ. Pro. 41(a)(1)(A)(i), Plaintiff

  FOREO INC., voluntarily dismisses the following Defendant listed on Schedule A to the

  Complaint without prejudice:

       Doe No.    Defendant Seller          Defendant Online Marketplace
        271       retailmisfits             https://www.ebay.com/usr/retailmisfits?_trksid=p2047
                                            675.m3561.l2559

  Dated: December 6, 2023                      Respectfully submitted,

                                               /s/ Jason S. Zack
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                                               Rossana Baeza (FL Bar No. 1007668)
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                                               Counsel for Plaintiff Foreo Inc.
